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        Case
        ,'"  4:09-cr-00043-SPF     Document 35-1 Filed in USDC
                              TX-PP.D>199112 PLN-NUM>
                                                                 ND/OK on 04/13/09 Page 1 of 5
                                                             NM-CTRL>SPRI
[OnAtI!. ••   3758      MFT>30
47-404-79007-9<DLN                                    BOD-CD>WI
                                        MF-XTRCT-CYC~200512 SC-REASON-CD>6T
STS>72 MOD-BAL>           15,615.45 CYC>200513
STS>26 MOD-HAL>           15,615.45 CYC>200413 TODAYS-DT~03/31/2005 ICS>l
MOING TRANS     LAST-NOTICE>DAF   ARDI-CD>1   PRIMARY-LOC>7315
-------------------------                     COLLECT-LOC>30
D>OS29200S     FRZ>VT    -       I                   AIMS-CD>1         COLLECTION-ASGMT>3014220S
D>05292007 INTL>                 I          FMS-CD>3                  LIEN>4   MOD-YLD-SCOR>11002
0>04151995

CTRL-INFO>NO CASE CONTROLS
------------------------POSTED RETURN INFORMATION----------------------------
-RCVD-nT>02161996        MO-DELQ>5
3       NUM-EXEMPT>01
----------------------------RETURN TRANSACTION-------------------------------
  TIC      POSTED     TRANS-AMOUNT           CYC    T         DLN
  150 10071996                     0.00    199639      18210-251-00305-6   SFR
-----------------------POSTED TRANSACTIONS SECTION---------------------------
     T!r     POSTED   TRANS-AMOUNT   CYC   T       DLN
  '1:::    ;j2261996          0.00 199610     73277-057-20000-6     SOURCE-CD>24
                                 PBC>OOO  SBC>OOOOO EGC>1137 PUSH-CD>021
  570 10071996                0.00 199639     18210-251-00305-6
loyee   #6615428704     Page   001 of 005    PAGE      002
 .C10n Name:     UKCU14WA2~&9139 Date: 3/31/2005     Time: 2;15:50   PM
           Case 4:09-cr-00043-SPF Document 35-1 Filed in USDC ND/OK on 04/13/09 Page 2 of 5
 :ODA_" 3758             MFT>30   TX-PRD>199112     PLN-NUM>     NM-CTRL>SPRI
    420     09271996               0.00   199641    73277-271-00000-6
                                          PBC>OOO   SBC>OOOOO   iGC>1137
    300     01061997               0.00   199652    18247-754-10057-6     HOLD-CD~2
                                                                               APPL-CD>254
            03181997
             199713
                 73277-004-00000-9
            01151998
            05291997
                 73277-416-30004-8
                  199725
            03011999
            01041999
             199907
             199904
                  73277-077-77500-7
             199806
             199725
               199725     457.00
                             0.00
                 73251-149-13501-7
            01061997
             199704             ASED>07101997
                  18247-404-79007-9  DISP-CD>l1
                           APPL-CD>254
                 73277-006-00000-7
                            COLL-CLS-CD>72
                        7,979.00
                        5,184.45
                        1,995.00
20070529              PRT-CD>2    APPL-CD>254
                     AGENT-ID-NUM>73166200
                        CSED>20070529




                                    DISP-CD>Ol ASED>05292005
 loyee     #6615428704   Page   002 of 005 PAGE    003
                                     - - - -. - - - - - --.-   ..   - - -- - - ---
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        Case34:09-cr-00043-SPF
CODA••...•    758               Document 35-1
                    KFT>30 TX-PRD>199112      Filed in USDC
                                           PLN-NUM>         ND/OK on 04/13/09 Page 3 of 5
                                                         NM-CTRL>SPRI
    421 ' 03011999           0.00 199907 X 18247-404-79007-9
    912 02191999             0.00 199909    16277-453-30010-9
                                                          AGENT-ID-NUM>18000000
    582 04301999             0.00 199919    73277-523-54137-9
                                   REGULAR LIEN
    530      07301999       0.00    199932         73277-614-56159-9
                                                                    COLL-CLS-CD>12
  971 11242003           0.00 200347    28277-001-99999-3      971-CD>060
  531 01082004           0.00 200404    57277-408-02088-4
  971 01102004           0.00 200404    63277-412-01952-4      971-CD>611
  972 02092004           0.00 200405    28277-001-99999-4      971-CD>060
  971 04122004           0.00 200413    18277-999-99999-4      971-CD>061
  972 06282004           0.00 200424    18277-999-99999-4      971-CD>061
  971 07052004           0.00 200426    28277-001-99999-4      971-CD>060
  971 09142004           0.00 200438    49277-660-02312-4      971-CD>611
  971 02112005           0.00 200508    49277-446-09983-5      971-CD>611
  971 03022005           0.00 200511    49277-463-03311-5      971-CD>066
  971 03022005           0.00 200511    49277-463-03312-5      971-CD>069
-----------------------PENDINGTRANSACTIONSSECTION-------------------------
  971 03252005           0.00 200514    49277-487-02475-5      971-CD>275
  520 03282005           0.00 000001    57277-089-00000-5COLL-CLS-CD>77
                             BLLC>30                      CSED-EXT-IND>P
loyee #6615428704page 003 of 005 PAGE 004




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                                                    .-- .-- ..-
!lODA•••Case3758
             4:09-cr-00043-SPF  Document 35-1
                    MFT>30 TX-PRD>199112      Filed in USDC
                                           PLN-NUM>          ND/OK on 04/13/09 Page 4 of 5
                                                          NM-CTRL>SPRI
~--------------------------NOTICE HISTORY SECTION-----------------------------
)TICE          AMOUNT         CYC   S AO
?71A             27,212.11   200343 M 15    SUPPRESS-CD>0
~504             27,425.65 200401 I 30      SUPPRESS-CD>O
JDP2             27,503.59   200405 I 15    SUPPRESS-CD>O
lP              15,615.45   200410 M   IS
U?              47,620.94 200411I 30 SCND-TDA-SEL>A
~P                27,668.59   200413 I 30
--------------------CONTROL BASE AND HISTORY INFORMATION----------------------
   STATUS    ACT-DT   ACTION-EMP   ACTIVITY   RCVD-DT ASSIGN-TO CAT ORG F S
           03172004 3023647873 STAUP2200                                   C
-----------------------SERVICE CENTER HISTORY SECTION-------------------------
-STS    DATE        STATUS-AMOUNT     CYC
;3     11032003         15,615.45 200343
i8     01192004         15,615.45 200401
:8D    02162004 NXT>SOS            200405 MIN-NUM-DELAY>06
,0     03292004 NXT>50S            200411 MIN-NUM-DELAY>OO
 2     03292004         15,615.45 200411
 6                      15,615.45 200413
 2       __~J0~         15,615.45 200513
 -----------------------MASTER FILE HISTORY SECTION---------------------------
 STS    DATE        STATUS-AMOUNT     CYC
 loyee #6615428704 Page 004 of 005 PAGE 005
IODA-1I1._.·-3 7 58 MFT>30  TX-PRD>199112   PLN-NUM>       NM-CTRL>SPRI
       Case 4:09-cr-00043-SPF
  12 01061997                0.00Document
                                    199652 35-1 Filed in USDC ND/OK on 04/13/09   Page 5 of 5
  21 05291997           15,615.45 199725
  58 07211997           15,615.45 199728
  22 09011997           15,615.45 199734
  26 09221997           15,015.45 199737
 58   03151999          15,615.45   199909
 26   03221999          15,615.45   199910
 58   01192004          15,615.45   200401
 22   03292004          15,615.45   200411
 26   04122004          15,615.45   200413




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